     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 1 of 6



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 7                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 8
       ABEL CÁNTARO CASTILLO;
 9     ALCIDES INGA RAMOS, RAFAEL DE LA                      CASE NO. 3:16-cv-00237-RCJ-CLB
       CRUZ, and those similarly situated,
10
                      Plaintiffs,
11
       vs.
12
       WESTERN RANGE ASSOCIATION;
13     EL TEJON SHEEP COMPANY; MELCHOR
       GRAGIRENA; MOUNTAIN PLAINS
14     AGRICULTURAL SERVICE; and ESTILL
       RANCHES, LLC,
15
                      Defendants.
16

17           PLAINTIFFS’ MOTION TO ADOPT THE PARTIES’ JOINT PROPOSED
                           AMENDED SCHEDULING ORDER
18                             (First Extension Request)
19           Plaintiffs respectfully request the Court adopt the stipulated amended scheduling order
20   submitted jointly by the parties on April 3, 2020. Dkt. 190. The Court denied the stipulation
21   without prejudice to it being resubmitted in conformance with Local Rule 26-4. Plaintiffs
22   promptly began working on a revised draft, and emailed counsel for WRA on April 6, 2020
23   regarding same. However, on April 8, 2020, Plaintiffs’ counsel learned that lead counsel for
24   WRA was ill (thus explaining the lack of response to the April 6th draft), and that WRA was
25   seeking an extension on pending briefing. Given the temporary unavailability of counsel for
26   WRA, and the urgency of addressing existing deadlines, Plaintiffs submit this motion in
27   support of the schedule previously submitted as a joint stipulation, in order to address the
28   requirements of Local Rule 26-4.

                                                    -1-
     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 2 of 6



 1          A.      Discovery Completed to Date

 2          The parties have substantially completed written discovery. On November 1, 2019

 3   WRA served on Plaintiff (a) WRA’s Amended Request for Production (21 RFPs); (b) WRA’s

 4   Interrogatories (15 interrogatories); and (c) WRA’s Request for Admissions (15 RFAs).

 5   Plaintiff provided his responses to all three on December 23, 2019, and supplemented with

 6   additional documents on February 4, 25, and March 9, 2020. Plaintiff produced a total of 87

 7   pages of documents. Defendant has not expressed any concern about the completeness of

 8   Plaintiff’s responses to written discovery.

 9          On January 18, 2017, Plaintiffs served their First Request for Production (31 RFPs),

10   and First Set of Interrogatories (1) on WRA, which responded on March 10, 2017. The

11   parties had begun to discuss deficiencies in WRA’s response when the case was dismissed

12   and discovery did not reopen until October 31, 2019. On December 10, 2019, Plaintiffs

13   served their Second Requests for Production (3 RFPs) and Second Set of Interrogatories (2),

14   which WRA responded to on January 31, 2020. On January 22, 2020, Plaintiffs served their

15   First Requests for Admission (7 RFAs), Third Requests for Production (3 RFPs), and Third

16   Set of Interrogatories (4), to which WRA responded on February 21, 2020. In total, Plaintiffs

17   served 37 requests for documents, 7 interrogatories and 7 requests for admission on WRA.

18   Plaintiffs sent a lengthy series of communications to WRA seeking to resolve disputes over

19   WRA withholding responsive documents and information, as set for in Plaintiffs’ Motion to

20   Compel (Dkt. 188). Defendant produced supplemental responses to various requests for

21   production between February 27 and March 6, 2020, and supplemental document production

22   was not received until March 12, 2020. Defendant has produced a total of 3,240 pages of

23   documents to date.

24          B.      Discovery Remaining to Be Completed

25          With respect to written discovery, the only remaining discovery is that encompassed
26   by Plaintiffs’ motion to compel (Dkt. 188). Defendant’s response to that motion was
27   originally due on April 1, 2020, and Plaintiff consented to an extension until April 8, 2020.
28   Defendant has just sought a further, extension on its response, Dkt. 199, which Plaintiffs

                                                   -2-
     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 3 of 6



 1   address separately in their response to that motion.

 2          No depositions have been completed as of yet, and that is the most significant

 3   discovery remaining. The deposition of plaintiff is the subject of a motion for protective

 4   order (Dkt. 182, 186, 187) and a motion to compel (Dkt. 185, 189). Specifically, due to his

 5   inability to obtain a visa, Plaintiff proposes that his deposition proceed via video conference,

 6   to which Defendant objects. The Rule 30(b)(6) depositions of WRA are also impacted by the

 7   pending motions in that Defendant has objected to any deposition of WRA until the

 8   deposition of Plaintiff has been completed in person. Defendant has also objected to

 9   Plaintiff’s proposal to take deposition of WRA’s designated witnesses by video conference,

10   although this dispute has not yet been briefed. It is possible that Plaintiffs will wish to take

11   one or two additional depositions, but that is dependent upon the scope of knowledge of

12   WRA’s Rule 30(b)(6) designees.

13          Expert work has not yet begun, as it is dependent upon resolution of pending

14   discovery disputes and depositions not yet completed.

15          C.      Reasons for Needing Additional Time and Proposed Amended Schedule

16          Plaintiffs’ efforts to resolve the disputes over written discovery are set forth in detail
17   in the pending motion to compel and supporting declaration (Dkt. 188). Despite diligent
18   efforts, counsel for Defendant was not available for necessary meet and confer conversations
19   until February 10 and 13, 2020. Plaintiffs then waited on receipt of supplemental document
20   production which did not arrive until March 12, 2020, to determine whether the documents
21   produced would satisfy outstanding requests. Thus, Plaintiff’s motion to compel was filed on
22   March 18, 2020, and has not yet been ruled upon due to Defendant’s requests for additional
23   time to respond. In addition, WRA has submitted a declaration stating that it is currently
24   unable to access some responsive documents which are in storage. Dkt. 199-2 at ¶¶17-18.
25   Thus, even after a ruling on the pending motion to compel, if any further production is
26   ordered, it is not clear how soon production could be made.
27          The delay in completing Plaintiff’s deposition has been due to the unsuccessful efforts
28   to obtain a visa for him to enter the U.S., and WRA’s objection to proceeding with his

                                                     -3-
     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 4 of 6



 1   deposition by video. The motions related to this deposition have been fully briefed, but for

 2   WRA’s reply in support of its motion to compel. If the Court directs that the deposition take

 3   place by video conference as Plaintiffs propose, the parties will need some time to make

 4   arrangements (Plaintiffs’ counsel may ship a laptop computer to Plaintiff for best results).

 5            Plaintiffs originally sought to depose WRA on March 12, a date on which counsel for

 6   WRA had a conflicting hearing. Plaintiffs then rescheduled the depositions for April 21-22,

 7   and proposed to proceed by video in light of travel restrictions. WRA objected to proceeding

 8   by video deposition, and, moreover, lead counsel for WRA is now unavailable due to illness.

 9   Dkt. 199-1. These depositions will need to be rescheduled when some counsel for WRA is

10   available, and after resolution of the issue of proceeding by video is resolved, or travel

11   restrictions are lifted.

12            Expert work is dependent upon receipt of data and documents that are the subject of

13   the motion to compel, and on information expected to be obtained in deposition. Thus, the

14   current expert deadline of April 24, 2020 is impossible to meet.

15            Given the pending discovery disputes, the geographically dispersed witnesses and

16   parties, and the additional hurdles imposed by the current pandemic, the parties propose the

17   revised dates below in order to permit completion of discovery, and completion of expert

18   work, which impacts the deadlines for briefing class certification and summary judgment.

19    Event                                                Deadline Date
20    Expert Disclosures Exchanged                         November 20, 2020
21    Rebuttal-Expert Disclosures Exchanged                December 31, 2020
22    Motion for Class Certification to be Filed           January 15, 2021
23    Discovery Cut-Off                                    January29, 2021
24    Dispositive Motions to be Filed                      February 26, 2021
25    Pretrial Order to be Filed                           June 4, 2021
26

27            The parties further propose Trial Dates of July 5, 2021, July 12, 2021 or July 19, 2021.

28            This request is made in good faith and not for purposes of delay.


                                                    -4-
     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 5 of 6



 1                                             RESPECTFULLY SUBMITTED,

 2      Dated April 9, 2020                    By: /s/ Christine E. Webber
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 3                                             Joshua D. Buck, Esq.
                                               Leah L. Jones, Esq.
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11                                             Attorneys for Plaintiffs
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     Case 3:16-cv-00237-RCJ-CLB Document 201 Filed 04/09/20 Page 6 of 6



 1                                   CERTIFICATE OF SERVICE

 2   I hereby certify that on April 9, 2020, a true and correct copy of the foregoing was served via

 3   the United States District Court CM/ECF system on all parties or persons requiring notice.

 4

 5                                                By: /s/ Christine E. Webber
                                                         Christine E. Webber
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